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                          UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF PENNSYLVANIA
                                PITTSBURGH DIVISION

In re:                                                      Case No. 10-20954GLT
         CAROLE L. TAYLOR

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Ronda J. Winnecour, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 02/18/2010.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1328 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 01/01/1900.

         6) Number of months from filing to last payment: 0.

         7) Number of months case was pending: 96.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $24,751.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor                  $1,261,805.11
       Less amount refunded to debtor                                    $0.00

NET RECEIPTS:                                                                                  $1,261,805.11


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                  $13,600.48
    Court Costs                                                                 $0.00
    Trustee Expenses & Compensation                                        $40,029.56
    Other                                                                       $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                   $53,630.04

Attorney fees paid and disclosed by debtor:                      $9,050.00


Scheduled Creditors:
Creditor                                            Claim          Claim         Claim        Principal        Int.
Name                                  Class       Scheduled       Asserted      Allowed         Paid          Paid
CITY & SCHOOL DIST OF PITTSBURG   Secured                  NA        2,783.61      1,458.24      1,458.24       314.68
CITY & SCHOOL DIST OF PITTSBURG   Secured                  NA          207.09          0.00           0.00         0.00
CLERK, U S BANKRUPTCY COURT       Priority                 NA             NA    208,552.41     208,552.41          0.00
COLETTE TAYLOR*                   Unsecured         34,000.00             NA            NA            0.00         0.00
COUNTY OF ALLEGHENY (R/E TAX)*    Secured                  NA          105.79          0.00           0.00         0.00
COUNTY OF ALLEGHENY (R/E TAX)*    Secured                  NA            7.41          0.00           0.00         0.00
EQUITABLE GAS CO (*)              Unsecured                NA          137.46        137.46        137.46          0.00
ESTATE OF THERESA FLATI           Unsecured               0.00           0.00          0.00           0.00         0.00
ESTATE OF THERESA FLATI           Unsecured               0.00            NA            NA            0.00         0.00
GOLDBERG KAMIN & GARVIN LLP       Priority                 NA            0.00    40,000.00      40,000.00          0.00
GOLDBERG KAMIN & GARVIN LLP       Unsecured               0.00       8,707.50      8,707.50      8,707.50          0.00
MARGARET MESSMER                  Unsecured                NA     142,301.66    142,301.66     142,301.66          0.00
MARGARET MESSMER                  Secured          148,923.70     181,800.00    181,800.00     181,800.00    23,634.00
MARGARET MESSMER                  Secured                 0.00     33,611.47     33,611.47      33,611.47     1,344.46
MARGARET MESSMER                  Secured                 0.00           0.00          0.00           0.00         0.00
MARGARET MESSMER                  Secured                  NA      38,920.72     38,920.72      38,920.72     1,167.62
MARGARET MESSMER                  Secured                  NA            0.00          0.00           0.00         0.00
MARJI DUNN                        Unsecured               0.00            NA            NA            0.00         0.00
MORRIS JOBE AND COOK LLC          Priority                 NA            0.00    20,000.00      20,000.00          0.00
NEGLEY PARK HOMEOWNERS ASSO       Priority                 NA        2,100.00      2,100.00      2,100.00          0.00
NEGLEY PARK HOMEOWNERS ASSO       Secured                  NA        4,884.45      4,884.45      4,884.45       634.98
PATRICIA O'KANE                   Unsecured               0.00           0.00          0.00           0.00         0.00
RICHARD A FLATI                   Unsecured               0.00            NA            NA            0.00         0.00
RONDA J WINNECOUR PA ID #30399    Priority                 NA            0.00   111,805.28     111,805.28          0.00
SCHNADER HARRISON SEGAL AND L     Priority                 NA            0.00   386,800.14     386,800.14          0.00
YVETTE TAYLOR                     Unsecured         34,000.00             NA            NA            0.00         0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00             $0.00              $0.00
       Mortgage Arrearage                                     $0.00             $0.00              $0.00
       Debt Secured by Vehicle                                $0.00             $0.00              $0.00
       All Other Secured                                $260,674.88       $260,674.88         $27,095.74
 TOTAL SECURED:                                         $260,674.88       $260,674.88         $27,095.74

 Priority Unsecured Payments:
        Domestic Support Arrearage                            $0.00             $0.00               $0.00
        Domestic Support Ongoing                              $0.00             $0.00               $0.00
        All Other Priority                              $769,257.83       $769,257.83               $0.00
 TOTAL PRIORITY:                                        $769,257.83       $769,257.83               $0.00

 GENERAL UNSECURED PAYMENTS:                            $151,146.62       $151,146.62               $0.00


Disbursements:

         Expenses of Administration                           $53,630.04
         Disbursements to Creditors                        $1,208,175.07

TOTAL DISBURSEMENTS :                                                                     $1,261,805.11


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 02/15/2018                             By:/s/ Ronda J. Winnecour
                                                                    Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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